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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                                       Plaintiff,    )   Case No. CR05-391-RSM
                                                       )
10         v.                                          )   PROPOSED FINDINGS OF FACT
                                                       )   AND DETERMINATION AS TO
11 ERIC O’NEAL SOLIER,                                 )   ALLEGED VIOLATIONS OF
                                                       )   SUPERVISED RELEASE
12                                    Defendant.       )

13                                          INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on July 16,

15 2010. The defendant appeared pursuant to warrant issued in this case. The United States was

16 represented by Richard E. Cohen, and defendant was represented by James Vonasch. Also

17 present was U.S. Probation Officer Joe Mendez. The proceedings were digitally recorded.

18                                 SENTENCE AND PRIOR ACTION

19       Defendant was sentenced on July 28, 2006 by the Honorable Ricardo S. Martinez for

20 Conspiracy to Distribute Cocaine and Cocaine Base, a Schedule II Controlled Substance. He

21 received 60 months detention and 5 years of supervised release.

22                              PRESENTLY ALLEGED VIOLATIONS

23       In a petition dated July 2, 2010, U.S. Probation Officer Christopher S. Luscher alleged that


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 1
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 1 defendant violated the following conditions of supervised release:

 2       1.      Possessing and distributing a controlled substance, oxycontin, on or about June 30,

 3 2010, in violation of the mandatory condition that he not commit another federal, state, or local

 4 crime.

 5                       FINDINGS FOLLOWING EVIDENTIARY HEARING

 6       Auburn police officer Jeffrey Crawford testified that on June 30, 2010 defendant sold

 7 oxycontin to a confidential informant in a controlled buy. After the buy, defendant was arrested

 8 and police found in his possession the marked US currency the police had used in the controlled

 9 buy. Police also found additional oxycontin pills in the car defendant was driving at the time of

10 his arrest. Based on the testimony presented, the Court found the government had proven that

11 defendant had violation the alleged condition of supervision. Defendant was informed the matter

12 would be set for a disposition hearing on July 30, 2010 at 10:00 a.m. before District Judge

13 Ricardo S. Martinez.

14                       RECOMMENDED FINDINGS AND CONCLUSIONS

15       Based upon the foregoing, I recommend the court find that defendant has violated the

16 conditions of his supervised release as alleged above, and conduct a disposition hearing.

17       DATED this 16th day of July, 2010.

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20                                                       A
                                                         BRIAN A. TSUCHIDA
21                                                       United States Magistrate Judge

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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 2
